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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION

EDWARD BRAGGS, et al.,               )
                                     )
       Plaintiffs,                   )
                                     )        CIVIL ACTION NO.
       v.                            )          2:14cv601-MHT
                                     )               (WO)
JEFFERSON S. DUNN, in his            )
official capacity as                 )
Commissioner of                      )
the Alabama Department of            )
Corrections, et al.,                 )
                                     )
       Defendants.                   )

            PHASE 2A ORDER ON CORRECTIONAL STAFFING TREND

       This court has now reviewed the latest quarterly

staffing report (doc. nos. 2823-1 & 2829-1) in light of

all previously filed quarterly staffing reports.                         The

court’s assessment of the reports reveals that, for the

past    12   months       of   available   data,    since      the    second

quarter      of   2019     through   the   first    quarter      of    2020,

there has been an overall increase in the number of

officers      from    1,301      total   officers       to   1,413     total

officers      and    an    overall   decrease      in    the   number     of

supervisors from 359 supervisors to 313 supervisors.
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Compare      Q2-2019        Report   (doc.    no.     2668)     (reporting

number of correctional officers), as supplemented by

Joint      Notice    (doc.      no    2704)   (reporting        additional

number of BCOs and CCOs), with Q1-2020 Report (doc.

nos. 2823-1 & 2829-1).               The increase in the number of

total officers is the result of a rise in the number of

basic correctional officers, which grew from 56 when

they were first implemented in the second quarter of

2019 to 294 in the first quarter of 2020.                        See Joint

Notice (doc. no. 2704) at 2 (reporting number of BCOs

in second quarter of 2019); Defs.’ Response (doc. no.

2703) at 16 (implementation of BCOs began in May 2019);

Q1-2020 Report (doc. nos. 2823-1 & 2829-1) (reporting

number of BCOs in first quarter of 2020).                     The decrease

in   the    number     of    supervisors      is    part   of   a     longer,

consistent decline.            In fact, ADOC has never reported

any increase in the number of supervisors since the

first    staffing      report    was    filed      covering     the    fourth

quarter of 2017.            See Q4-2017 Report (doc. no. 2325-1);

Q1-2018 Report (doc. no. 2352-2); Q2-2018 Report (doc.
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no. 2325-3); Q3-2018 Report (doc. no. 2378-1); Q4-2018

Report      (doc.     no.    2558-1);      Q1-2019       Report       (doc.     no.

2602-1); Q2-2019 Report (doc. no. 2668); Q3-2019 Report

(doc.      no.    2766);      Q4-2019      Report        (doc.       no.    2831);

Q1-2020 Report (doc. no. 2823-1).

          The Savages’ correctional staffing analysis (doc.

no. 1813-1) recommended that ADOC have 3,326 officers

and 500 supervisors.               As a result, even assuming that

all       basic          correctional        officers           and         cubicle

correctional          officers      are    able     to    fill        the     posts

identified by the Savages, see Joint Report (doc. no.

2758)     (putting        this    question    to    the        Savages),       ADOC

would      need     to    gain    approximately          213     officers       and

approximately 23 supervisors per quarter for each of

the     eight     remaining       quarters    in    order       to    meet     this

court’s       order       that,    “[b]y     February       20,       2022,    the

defendants shall have fully implemented the Savages’

correctional          staffing      recommendations.”                 Braggs     v.

Dunn, No. 2:14-cv-601, 2018 WL 7106346, at *1 (M.D.
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Ala. Feb. 20, 2018) (Thompson, J.).*                  To the extent this

may be evidence of an already existing problem, the

court does not believe the parties should wait until

the     2022     deadline       has    passed    to     begin   to    begin

addressing       it.       As    the     adage   goes,    “an    ounce      of

prevention is worth a pound of cure.”                     Or, to put it

another        way,    it's     easier     to    stop    something     from

happening in the first place than to repair the damage

after it has happened.            And the bottom line is that the

court stands ready now to assist in addressing this

problem if there is one.

       Accordingly, it is ORDERED as follows:

       (1) The defendants are to file, by noon on June 12,

             2020, a response that includes the following:




    *     The court did the following calculations.
First, it calculated the number of additional officers
needed   (3,326  –  1,413   =  1,913)   and   additional
supervisors needed (500 – 313 = 187).    Given this, it
calculated the number of additional officers needed per
quarter (1,193 ÷ 8 = 239.125) and the number of
additional supervisors needed per quarter (187 ÷ 8 =
23.375), counting the first quarter of 2020 as the
eighth quarter.
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       (a) The defendants should confirm whether the

          court’s calculations are correct.

       (b) Regardless          of     whether         the    court’s

          calculations       are     correct     or     simply        the

          overall      picture       is     as    depicted,           the

          defendants should explain how they plan to

          meet the February 20, 2022, deadline.

 (2) The plaintiffs are to file, by noon on June 19,

       2020,    a   reply,     if   any,    to   the    defendants’

       response.

 DONE, this the 8th day of June, 2020.

                           /s/ Myron H. Thompson
                        UNITED STATES DISTRICT JUDGE
